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1     Todd M. Friedman (SBN 216752)
2     Adrian R. Bacon (SBN 280332)
      Meghan E. George (SBN 274525)
3
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
4     21550 Oxnard St., Suite 780
5
      Woodland Hills, CA 91367
      Phone: 323-306-4234
6     Fax: 866-633-0228
7     tfriedman@ toddflaw.com
      abacon@ toddflaw.com
8
      mgeorge@toddflaw.com
9     Attorneys for Plaintiff
10
                         UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
      JOHN KRISTENSEN, individually
                                 )                   Case No. 2:18-cv-09811-ODW-JEM
13    and on behalf of all others similarly
                                 )
      situated,
14                               )                   NOTICE OF VOLUNTARY
                      Plaintiff, )                   DISMISSAL OF ENTIRE ACTION
15
                            v.   )                   WITHOUT PREJUDICE
16                               )
17
      SPRITE ENTERTAINMENT, INC. )
      DBA ANIMATION SHARKS; DOES )
18    1-10 Inclusive,            )
19                               )
                   Defendant.    )
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                                        Notice of Dismissal - 1
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            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
2     Civil Procedure 41(a)(1), hereby voluntarily dismisses this matter without
3     prejudice as to the individual and class claims. Defendant has neither answered
4     Plaintiff’s Complaint, nor filed a motion for summary judgment. Although this
5     case was filed as a class action, no class has been certified, and court approval of
6     this voluntary dismissal is therefore not required under Rule 23(a) of the Federal
7     Rules of Civil Procedure. Accordingly, this matter may be dismissed without
8     prejudice and without an Order of the Court.
9

10
                   RESPECTFULLY SUBMITTED this 7th day of January, 2019.

11

12                              By:    s/Todd M. Friedman
                                       Todd M. Friedman, Esq.
13
                                       Law Offices of Todd M. Friedman, P.C.
14                                     Attorney for Plaintiff
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                                         Notice of Dismissal - 2
     Case 2:18-cv-09811-ODW-JEM Document 15 Filed 01/07/19 Page 3 of 3 Page ID #:46



1     Filed electronically on this 7th of January, 2019, with:
2
      United States District Court CM/ECF system
3

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable Otis D. Wright, II
6     United States District Court
7     Central District of California
8
      And all Counsel of Record as recorded on the Electronic Service List.
9

10
      This 7th of January, 2019
11

12    s/Todd M. Friedman, Esq.
      TODD M. FRIEDMAN
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                                         Notice of Dismissal - 3
